Case 1:15-cv-06119-AJN-JLC Document 373-11 Filed 06/19/17 Page 1 of 2




         Exhibit 11
     Case 1:15-cv-06119-AJN-JLC Document 373-11 Filed 06/19/17 Page 2 of 2



From: Fenton, Anne
Sent: Monday, March 11, 2013 1:02 PM
To: Taylor, Phyllis; Singh Seema
CC: Serpico, Robert
Subject: FW: Resident calls on Mr. Greer NYPD responds




From: Falcon, Edwin [mailto:Edwin.Falcon@parks.nyc.gov]
Sent: Monday, March 11, 2013 9:26 AM
To: Fenton, Anne; Matthew Monahan
Subject: Fw: Resident calls on Mr. Greer NYPD responds

Fyi below e mail
Regarding incident involving Steven Greer
Have good day
Ed

Sent from my Motorola Smartphone on the Now Network from Sprint!


-----Original message-----
From: "Srisuro, Phuchong" <Phuchong.Srisuro@parks.nyc.gov>
To: "Falcon, Edwin" <Edwin.Falcon@parks.nyc.gov>
Sent: Sun, Mar 10, 2013 22:49:37 EDT
Subject: Resident calls on Mr. Greer NYPD responds

I was advised by the front desk that NYPD cars were parked with lights on speaking to a lady. I went to
inquire with Officer Walker and Officer Mesa and spoke to one of the officers, officer Durso from the 1st
pct. He said a 911 call was placed for a man harassing the lady at Gristedes supermarket at
West Thames. She explained to the officers that Greer has been saying things to her in the at Battery
Park City and in his blog in the past. When they met at the supermarket she tried to introduce herself as
the lady he has been writing about and he starts to yell and take his camera phone out to videotape
her. At that point she walked away from him and called 911. At this time Mr. Greer came to the area and
started to explain to the officers his side of the story, yelling and screaming as usual. The officers
heard his side of the story and when he was done he went on his way. Both the officers and myself
asked if she needed an escort back to her apt at the Visionarie but she refused and thanked us all. Mr.
Greer came back with a witness (the cashier at Gristedes) and told him to explain to us how the lady
was crazy. He came up to NYPD and us and said that he was the one who was crazy. At this point he
tried to videotape all of us and we decided to disperse. So just giving you a heads up if he starts to
complain again. Sorry never got the lady's name for the NYPD officers were involved and Greer was
screaming and yelling, but most likely her name will be in his blog in the future. Let me know if you need
anything else.

Sgt. Phuchong "POOH" Srisuro
New York City Parks Enforcement
Battery Park City
21 West Thames Street
New York N.Y 10281
Tel # 212-417-3100




                                           CONFIDENTIAL                                    BPCA000229
